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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
                                                  X

   FELICIA WHITELY, SCOTT DEFALCO and
   GABRIELLE WALLS on behalf of
   themselves and all others similarly situated,                    Docket No. 25 Civ. 00750 (MKB) (JAM)

                                           Plaintiffs,
                                                                    DECLARATION OF ERIC ARBIZO
                            - against -                             IN SUPPORT OF DEFENDANT’S
                                                                    MOTION TO DISMISS
   CITY OF NEW YORK,
                                          Defendant.
                                                 X

         I, Eric Arbizo, declare under penalty of perjury pursuant to 28 U.S.C. § 1746, that I am

   over the age of 18 and that the following is true and correct:

                 1.      I am counsel for the defendant City of New York (“Defendant”) in the

  above-captioned action.

                  2.      I respectfully submit this declaration in support of Defendant’s

   Motion to Dismiss pursuant to rule 12(b) of the Federal Rules of Civil Procedure.

                  3.      Exhibit A, attached to this declaration, is the complaint filed on

   January 15, 2025, in the matter of Scott Defalco et al. v. The City of New York, et al., Index

   No. 150761/2025 (Sup. Ct., N.Y. County Jan. 17, 2025).

                  4.      Exhibit B, attached to this declaration, is the first amended complaint

   filed on January 27, 2025, in the matter of Scott Defalco et al. v. The City of New York, et

   al., Index No. 150761/2025 (Sup. Ct., N.Y. County Jan. 17, 2025).

                  5.      Exhibit C, attached to this declaration, is the complaint filed on

   January 15, 2025 in the matter of Mohamed Monasar et al. v. City of New York et al., Index

   No. 150717/2025 (Sup. Ct., N.Y. County Jan. 15, 2025).
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                  6.     Exhibit D, attached to this declaration, is the first amended complaint

   filed on January 21, 2025 in the matter of Mohamed Monasar et al. v. City of New York et

   al., Index No. 150717/2025 (Sup. Ct., N.Y. County Jan. 15, 2025).

                  7.     Exhibit E, attached to this declaration, is the Notice of Removal filed

   by Defendant in the matter of Defalco et al v. City of New York et al., No. 1:25 Civ. 01339

   (S.D.N.Y. Feb. 14, 2025), for the purpose of removing the case referenced in paragraphs 3

   and 4 above to federal court.

                  8.     Exhibit F, attached to this declaration, is the Notice of Removal filed

   by Defendant in the matter of Monasar et al v. City of New York et al., No. 1:25 Civ. 01337

   (S.D.N.Y. Feb. 14, 2025), for the purpose of removing the case referenced in paragraphs 5

   and 6 above to federal court.



   Dated: New York,
   New York March 6, 2025




                                                          Eric Arbizo
                                                          Assistant Corporation Counsel
                                                          New York City Law Department
